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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                 Eastern Division

Ubiquiti Networks, Inc.
                                       Plaintiff,
v.                                                        Case No.: 1:18−cv−05369
                                                          Honorable Gary Feinerman
Cambium Networks, Inc., et al.
                                       Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, August 31, 2018:


         MINUTE entry before the Honorable Gary Feinerman:Motion for extension of
time to answer [17] is granted. The time for Defendants to respond to the complaint is
extended to 10/15/2018. Motion hearing set for 9/5/2018 [18] is stricken. The time to
serve MIDP disclosures is extended to 11/15/2018. Status hearing set for 10/30/2018 [14]
is stricken and re−set for 10/18/2018 at 9:00 a.m.Mailed notice.(jlj, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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